       Case 2:22-cv-00146-JRG-RSP Document 55 Filed 11/15/22 Page 1 of 1 PageID #: 242
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                    REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                          FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                           ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                  for the Eastern District of Texas                           on the following
       G Trademarks or        G
                              ✔ Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
       2:22-cv-00146                       5/12/2022                                   for the Eastern District of Texas
PLAINTIFF                                                                 DEFENDANT
 Decapolis Systems, LLC                                                     MedSys Group, LLC et alPLLC,



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 7,490,048                                2/10/2009                Decapolis Systems LLC

2 7,464,040B2                              12/9/2008                Decapolis Systems LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    In light of the Stipulation, which the Court ACCEPTS AND ACKNOWLEDGES, and pursuant to Rule 41(a)(1)(A)(ii), all claims asserted
    in this suit by Decapolis Systems against UHS of Delaware and all counterclaims asserted by UHS of Delaware against Decapolis Systems in the
    above-captioned case are DISMISSED WITH PREJUDICE, subject to terms of the Agreement between the parties.



CLERK                                                      (BY) DEPUTY CLERK                                            DATE

                                                                   nkl                                                   11/15/22
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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